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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
MERSADIES BONILLA                                     :
            Plaintiff
            v.                                        :
AMERICAN HERITAGE FEDERAL CREDIT                      :
UNION; BRUCE FOLUKE; DANIELLE                         :
BASICH; and                                           : CIVIL ACTION NO. – LAW
BRANCH MANAGER UNKNOWN                                :
            Defendants                                :
                                                      :
                                                      :

                             NOTICE OF REMOVAL OF ACTION

         Pursuant to 28 U.S.C. §1441, Defendants, American Heritage Federal Credit Union, Bruce

Foulke, and Danielle Basisch, file this Notice of Removal of the present case from the Court of

Common Pleas of Philadelphia County, Pennsylvania, in which it is now pending, to the United

States District Court for the Eastern District of Pennsylvania, and aver as follows:

             1. On or about April 23, 2020, Plaintiff filed a Complaint in the Court of Common

Pleas of Philadelphia County, captioned Bonilla v. American Heritage Federal Credit Union,et

al, under docket No.: 200401130. See, Complaint, attached as Exhibit “A.”

             2. Plaintiff’s Complaint seeks damages against Defendants and alleges causes of

action pursuant to, inter alia, the Truth in Lending Act, the United States Constitution, and laws

of the United States. See, Id., at ¶48 and VI. Prayer for Relief

             3. Plaintiff’s lawsuit is removable from the State Court to this Court pursuant to 28

U.S.C. § 1441 because of federal question jurisdiction.

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             4. Venue is properly laid in this district pursuant to 28 U.S.C. § 1446(a) because the

action sought to be removed is pending in this district. See, 28 U.S.C. § 1446(a).

             5. This Honorable Court has jurisdiction over this matter because Plaintiff alleges

that the events giving rise to her claims allegedly occurred in this district. 28 USC §1391(b).

             6. The Complaint was the first pleading, motion, order or other paper from which it

was ascertainable that the case meets the criteria for removal to Federal Court.

             7. This Notice of Removal has been timely filed within thirty days of the date

Defendants received the Complaint.

         WHEREFORE, Defendants respectfully requests that the above-captioned action, now

pending in the Court of Common Pleas of Philadelphia County, Pennsylvania, be removed

therefrom to the United States District Court for the Eastern District of Pennsylvania.

                                                      RAWLE & HENDERSON LLP

                                                     By:

                                                            _____________________________
                                                            Nigel A. Greene, Esquire
                                                            Attorney I.D. No. 74636
                                                            Rawle & Henderson LLP
                                                            One S. Penn Square, 16th Floor
                                                            The Widener Building
                                                            Philadelphia, PA 19107
                                                            (215) 575-4200
                                                            ngreene@rawle.com
                                                            Attorney for Defendants,
                                                            American Heritage Federal Credit
                                                            Union, Bruce Foulke (improperly
                                                            named as Bruce Foluke), and Danielle
                                                            Basich

Date: May 13, 2020



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                      IN THE UNITED STATES DISTRICT COURT
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MERSADIES BONILLA                                  :
            Plaintiff
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AMERICAN HERITAGE FEDERAL CREDIT                   :
UNION; BRUCE FOLUKE; DANIELLE                      :
BASICH; and                                        : CIVIL ACTION NO. – LAW
BRANCH MANAGER UNKNOWN                             :
            Defendants ,                           :
                                                   :

                               CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing Notice of Removal to

Federal Court was served upon the below-listed party by First Class U.S. Mail on May , 2020:


Mersadies Bonilla
921 Pleasant Valley Avenue #307
Mount Laurel, NJ 08054
                                                 RAWLE & HENDERSON LLP

                                                 By:

                                                        _____________________________
                                                        Nigel A. Greene, Esquire
                                                        Attorney I.D. No. 74636
                                                        Rawle & Henderson LLP
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                                                        Attorney for Defendants,
                                                        American Heritage Federal Credit
                                                        Union, Bruce Foulke (improperly
                                                        named as Bruce Foluke), and Danielle
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